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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                        ________________________________________

DOMINGO TOVAR CRUZ, an individual,
and behalf of all similarly situated                         Hon.
                                                            Case No.
Plaintiff,

v.

RIVIERA MAYA, INC., A Michigan
Corporation, d/b/a LOS AMIGOS PORTAGE,
and FRANCISCO HERNANDEZ, FELIPE
ORTIZ, JULIO RUIZ, individuals,
 jointly and severally

Defendants.


 AVANTI LAW GROUP, PLLC
 Robert Anthony Alvarez (P66954)
 Attorneys for Plaintiff
 600 28th St. SW
 Wyoming, MI 49509
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     PLAINTIFF’S ORIGINAL COLLECTIVE AND CLASS ACTION COMPLAINT
                           AND JURY DEMAND

NOW COMES Plaintiff Domingo Tovar Cruz, by and through his attorneys at the Avanti Law

Group, PLLC, and in his Original Complaint states as follows:


1.      This is a civil action brought on behalf of Plaintiff, on behalf of himself and all others

        similarly situated (hereinafter referred to as “Plaintiffs”), to recover for Defendants’

        willful and knowing violation of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §201

        et seq., the Michigan Workforce Opportunity Wage Act (“MWOWA”), M.C.L. §408.411




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     et seq. and the Improved Workforce Opportunity Wage Act (“IWOWA”), M.C.L.

     §408.931 et seq.

2.   Plaintiff is similarly situated with other employees who worked for or are working for

     Defendants who were not paid minimum wage for all hours worked.

3.   Plaintiff is similarly situated with other employees who worked for or are working for

     Defendants and were not compensated the mandated overtime premium for all hours

     worked in excess of forty (40) in a work week.

4.   Defendants violated the FLSA by failing to pay employees, including Plaintiff, time and

     one-half for each hour worked in excess of forty (40) per workweek. The FLSA requires

     the non-exempt employees to be compensated for overtime work at the mandated

     overtime wage rate. Accordingly, Plaintiff brings this collective action to recover unpaid

     overtime compensation under 29 U.S.C. § 207 and § 216(b).


5.   Defendants violated the FLSA by failing to pay employees, including Plaintiff, minimum

     wage for all hours worked. The FLSA requires employees to be compensated at a

     mandated minimum wage rate.


6.   Plaintiff seeks a declaration that his rights, and those of others similarly situated, were

     violated, an award of unpaid wages, and award of liquidated damages along with an

     award of attorneys’ fees and costs. At the earliest time possible, Plaintiff seeks

     permission to send a Court authorized notice of this action, pursuant to 29 U.S.C. §

     216(b), to all similarly situated individuals and potential class members as defined below


7.   Defendants, likewise, have not and do not pay the overtime rate to other similarly situated

     workers. Plaintiff brings a Collective and Class Action to recover unpaid overtime



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      compensation owed to himself and on behalf of all other similarly situated employees,

      current and former, of Defendants. Members of the Collective and Class Actions are

      hereinafter referred to as “Class Members.”


8.    The Department of Labor filed a Complaint against the Defendants on July 5, 2018 and a

      Consent Judgment was entered on September 25, 2020 ordering Defendants to pay

      $225,000 in unpaid wage and overtime compensation to employees for the time period of

      August 27, 2014 to August 26, 2016. Exhibit A Consent Judgment.


9.    The claims presented herein are for a period of time not covered by the Consent

      Judgment and/or for wages owed that were not included and/or paid through the Consent

      Judgment.


                                        COVERAGE


10.   At all material times, Defendants have been an employer within the meaning of section

      203(d) of the FLSA, which is defined to include any person acting directly or indirectly

      in the interest of an employer in relation to an employee. 29 U.S.C. § 203(d).


11.   At all material times, Defendants have been an enterprise in commerce or in the

      production of goods for commerce within the meaning of section 203(s)(1) of the FLSA

      because Defendants have had and continue to have employees engaged in commerce. 29

      U.S.C. § 203(s)(1).


12.   At all material times, Plaintiff and Class Members were employed in an enterprise

      engaged in commerce, or were engaged in commerce or in the production of goods for

      commerce as required by sections 206 and 207 of the FLSA.



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13.   Plaintiff was engaged in commerce either through work related to the actual movement of

      commerce, work that regularly uses the channels of commerce; or work related to the

      instrumentalities of commerce.


14.   Defendants are an enterprise engaged in commerce or the production of goods for

      commerce as defined by the FLSA.


15.   Furthermore, Defendants have had, and continue to have, an annual gross business

      volume in excess of the statutory standard of $500,000.


16.   Defendants provided training to Plaintiff and Class Members, controls and has

      knowledge of the hours to be worked by Plaintiff and Class Members, directs the work of

      Plaintiff and Class Members and sets the compensation received by each.


                               JURISDICTION AND VENUE


17.   This Court has federal question jurisdiction over this action pursuant to 28 U.S.C. § 1331

      and Section 16(b) of the FLSA, 29 U.S.C. § 216(b).


18.   This Court has supplemental jurisdiction over the state law claims asserted herein

      pursuant to 28 U.S.C. § 1391.

19.   Supplemental jurisdiction is appropriate because Plaintiff’s state law claims share a

      common nucleus of operative fact with Plaintiff’s federal claim and the claims are most

      efficiently resolved together in one court.

20.   Defendant corporation’s employees were either (1) engaged in commerce; or (2) engaged

      in the production of goods for commerce; or (3) employed in an enterprise engaged in

      commerce or in the production of goods.



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21.   Plaintiff was engaged in commerce either through 1) work related to the actual movement

      of commerce; 2) work that regularly uses the channels of commerce; or 3) work related to

      the instrumentalities of commerce.


22.   Defendant corporation's annual sales exceed $500,000, and each Defendant employs

      more than two persons, so the FLSA applies in this case on an enterprise basis.


23.   Defendant Riviera Maya, Inc. is and was at all times relevant incorporated in the State of

      Michigan and has its principal place of business located in Portage, Michigan, within the

      United States Judicial District of the Western District of Michigan.


24.   Venue is proper in this District pursuant to 28 U.S.C. § 1391 because the actions and

      omissions giving rise to the claims pled in this Complaint occurred in this District.


                                               PARTIES


25.   Plaintiff Domingo Tovar Cruz (hereinafter referred to as “Tovar Cruz”) is an individual

      who at all times relevant to this complaint resided in the County of Kalamazoo, State of

      Michigan, and whose consent to sue is attached at Exhibit B.

26.   Defendant Riviera Maya, Inc. (hereinafter referred to as “Riviera Maya”) is a Michigan

      Corporation whose registered office is located at 5036 S Westnedge Ave., Portage,

      Michigan. Exhibit C.

27.   Defendants operate as a franchise of Los Amigos Restaurants and do business as Los

      Amigos Portage. Exhibit D.

28.   Defendant Francisco Hernandez (hereinafter referred to as “Hernandez”) is an individual

      who at all times relevant to this complaint is the owner and resident agent of Defendant

      Riviera Maya.


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29.   Defendant Felipe Ortiz (hereinafter referred to as “Ortiz”) is an individual who at all

      times relevant to this complaint is the owner and resident agent of Defendant Riviera

      Maya.

30.   Defendant Julio Ruiz (hereinafter referred to as “Julio Ruiz”) is an individual who at all

      times relevant to this complaint is the manager of Defendant Riviera Maya.

31.   Defendant Julio Ruiz at all times relevant to this complaint is and was in charge of the

      day-to-day operations of Defendant Riviera Maya.

32.   Defendants employed Plaintiff within the meaning of 29 U.S.C. § 203(g).


                                    GENERAL ALLEGATIONS


33.   Plaintiff Tovar Cruz worked as a waiter for the Defendants from April 2016 to March

      2020.

34.   Plaintiff Tovar Cruz was hired by Defendant Julio Ruiz.

35.   Plaintiff Tovar Cruz was paid as a waiter at a rate of $3.52 per hour worked under 40

      hours and $5.73 per hour worked over 40 hours, but the total hours of overtime were not

      correct on his pay stub.

36.   Plaintiff Tovar Cruz was not always paid the hourly rate at all, he only received tips.

37.   At the conclusion of the Department of Labor case, Plaintiff Tovar Cruz was supposed to

      be awarded $103.14 for unpaid wages and overtime compensation for time worked from

      July to August 2016, but he has not received this payment.

38.   Also, at the conclusion of the Department of Labor case, Defendants would write checks

      to Plaintiff Tovar Cruz for hourly wages but he wouldn’t always receive those checks,

      sometimes just a picture of the check.




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39.   Defendants altered the amount of tips on Plaintiff Tovar Cruz’s pay stubs to reflect he had

      made more in tips than he actually had.

40.   After the DOL investigation, Defendants continued to alter tip amounts however, not as

      excessively.

41.   Plaintiff Tovar Cruz worked an average of 60 hours per week.

42.   Plaintiff Tovar Cruz was paid weekly by Defendants.

43.   Plaintiff Tovar Cruz’s pay stubs did not reflect the correct amount of hours worked.

44.   Defendants did not compensate Plaintiff at the rate of one and one-half times his rate for

      all hours worked over forty (40) hours per workweek as required by the FLSA.


45.   Defendant did not pay the statutorily mandated minimum wage for all hours worked.


                         WILLFUL VIOLATIONS OF THE FLSA

46.   Defendants knowingly and willfully disregarded the provisions of the FLSA as evidenced

      by its failure to compensate Plaintiff at the statutory minimum wage and overtime rate of

      one and one-half for all hours worked in excess of forty (40) hours per week, when

      Defendants knew or should have known such was due and that non-payment of overtime

      pay would financially injure Plaintiff.


47.   Defendants are a sophisticated business and individuals with the knowledge and expertise

      to know that the payment structure of its workers was and is impermissible under the

      FLSA.


48.   Defendants utilized their business to subvert their obligations under state and federal law.




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49.   The FLSA, 29 U.S.C. § 216(b), provides that as a remedy for a violation of the Act, an

      employee is entitled to their unpaid minimum and overtime wages plus an additional

      equal amount in liquidated damages, costs, and reasonable attorney’s fee.


                        COLLECTIVE ACTION ALLEGATIONS


50.   Plaintiff realleges and incorporates herein all previous paragraphs.


51.   All claims set forth in all Counts of this action are brought pursuant to the FLSA, 29

      U.S.C. § 216(b). Named Plaintiff brings this count on his own behalf and on behalf of all

      other current or former employees who 1) worked or are working for Defendants at any

      time in the three years prior to the filing of this action, and 2) were or are subject to the

      violations of the FLSA described in Count I and II. Named Plaintiff does not bring this

      action on behalf of any executive, administrative, and professional employees exempt

      from coverage under the FLSA.


52.   With respect to all Counts, a collective action under the FLSA is appropriate because

      under 29 U.S.C. § 216(b) the employees described are “similarly situated” to the named

      Plaintiff.


53.   The class of employees on behalf of whom Plaintiff brings this collective action are

      similarly situated because they have been or are employed in the same or similar

      positions as the individually named Plaintiff, were or are subject to the same or similar

      unlawful practices, policy, or plan as the individually named Plaintiff, and their claims

      are based upon the same legal theory as the individually named Plaintiff.




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54.   The precise numbers of class individuals are known only to the Defendants, and are

      believed to include well over 12 individuals.


55.   The class of individuals spans all employees who worked for Defendants.


56.   As such, the class of similarly situated Class Members are properly defined as follows:
      Current and former employees of Riviera Maya, Inc. or Los Amigos Portage Restaurant.
      and Francisco Hernandez, Felipe Ortiz or Julio Ruiz who were not paid time-and-a-half
      for hours worked in excess of 40 hours during a workweek.
      Plaintiffs reserve the right to amend this definition as necessary.


                             CLASS ACTION ALLEGATIONS

57.   Plaintiff brings Count III of this action as a class action pursuant to Federal Rule of Civil

      Procedure 23.

58.   Named Plaintiff brings this action individually and as a class action pursuant to Rule 23

      of the Federal Rules of Civil Procedure (hereinafter the “Class”):

      The Rule 23 Class is defined as follows:

      Current and former employees of Riviera Maya, Inc. or Los Amigos Portage Restaurant.
      and Francisco Hernandez, Felipe Ortiz or Julio Ruiz who were not paid time-and-a-half
      for hours worked in excess of 40 hours during a workweek.
59.   All requirements of Federal Rule of Civil Procedure 23 are satisfied to maintain a class

      action.

60.   The individuals in the Class are so numerous that joinder of all members is impracticable.

      While the exact number of Class members has not been determined at this time, upon

      information and belief, Defendants have employed over 50 Class members during the

      relevant time period. Plaintiff and members of the Rule 23 Class were equally affected by

      Defendants’ violations of law.




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61.    There are questions of law and fact common to the Class that predominate over any

       questions affecting individual members, including, but not limited to:

          a. Whether Defendants violated the rights of Plaintiff and the Class by failing to

              properly pay them the overtime premium for hours worked over forty (40) hours

              in a workweek;

          b. The amount of damages, restitution, and/or other relief (including all applicable

              civil penalties, liquidated damages, and equitable relief available to which

              Plaintiff and the Class members are entitled); and

          c. Whether Defendants should be enjoined from such violations in the future.

62.    Plaintiff’s claims are typical of those of the Class. Plaintiff, like other members of the

       Class, were subjected to Defendants’ policies and willful practices of failing to pay an

       overtime premium as required for all hours worked over forty (40) in a workweek. .

       Plaintiff and members of the Rule 23 Class have sustained similar injuries as a result of

       the Defendants’ actions.

63.    Plaintiff is an adequate representative of the Class. Plaintiff retained counsel experienced

       in complex wage and hour cases and collective/class action litigation.

64.    Plaintiff is a member of the Class. Given Plaintiff’s injuries and losses, Plaintiff is

       committed to the prosecution of this action for the benefit of the Class.

65.    Plaintiff has no interest that would cause him to act adversely to the best interests of the

       class action litigation. This action is maintainable as a class action because the

       prosecution of separate actions by individual members of the Class would create a risk of

       inconsistent or varying adjudications with respect to individual members of the Class,

       which would establish incompatible standards of conduct for Defendants.




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66.    This action is maintainable as a class action because questions of law and fact common to

       the Class predominate over any questions affecting only individual members of the Class

       and because a class action is superior to other methods for the fair and efficient

       adjudication of this action.

67.    Plaintiff intends to send notice to all members of the Rule 23 Class to the extent required

       by the Federal Rules of Civil Procedure.


                                COUNT I
      VIOLATION OF THE FAIR LABOR STANDARDS ACT, 29 U.S.C. §201 et seq.,
                        FAILURE TO PAY OVERTIME

68.    Plaintiff hereby incorporates and realleges all the paragraphs above.


69.    At all relevant times, Defendants have been “employer[s]” within the meaning of the

       FLSA, 29 U.S.C. § 203.


70.    At all relevant times, Plaintiff was an “employee[s]” of Defendants as the term is defined

       under the FLSA.


71.    At all times relevant to this action, Defendants “suffered or permitted” the Plaintiff to

       work and thus “employed” Plaintiff within the meaning of FLSA, 29 U.S.C. §203(g).


72.    The FLSA requires an employer to pay employees the federally mandated minimum

       wage as well as an overtime premium rate of one and one-half times their regular rate of

       pay for every hour worked in excess of 40 hours per workweek, 29 U.S.C. §206.


73.    By failing to compensate Plaintiff at a rate not less than one and one-half times the

       regular rate of pay for work performed in excess of forty hours in a workweek,




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       Defendants have violated the FLSA, 29 U.S.C. §§ 201, et seq., including 29 U.S.C. §

       206(a)(1), § 207(a)(1) and § 215(a).


74.    Plaintiff was not paid at the rate of one and one-half times their regular rate of pay for

       work performed in excess of forty (40) hours in a workweek.


75.    Defendants’ violations of the FLSA were knowing and willful.


76.    The FLSA, 29 U.S.C. §216(b), provides that as a remedy for a violation of the Act, an

       employee is entitled to his unpaid overtime wages plus an additional equal amount in

       liquidated damages, costs, and reasonable attorney’s fee.


77.    As a result of Defendants’ violation, Plaintiff is entitled to his unpaid wages plus an

       additional equal amount in liquidated statutory damages along with costs and reasonable

       attorney fees.


                               COUNT II
      VIOLATION OF THE FAIR LABOR STANDARDS ACT, 29 U.S.C. §201 et seq.,
               FAILURE TO PAY STATUTORY MINIMUM WAGE

78.    Plaintiff hereby incorporates and realleges all the paragraphs above.


79.    At all relevant times to this action, Defendants have been “employer[s]” within the

       meaning of the FLSA, 29 U.S.C. § 203.


80.    At all relevant times, Plaintiff was an “employee[s]” of Defendants as the term is defined

       under the FLSA.


81.    At all times relevant to this action, Defendants “suffered or permitted” the Plaintiff to

       work and thus “employed” Plaintiff within the meaning of FLSA, 29 U.S.C. §203(g).




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82.    The FLSA requires an employer to pay employees the federally mandated minimum

       wage for all hours worked, 29 U.S.C. § 206-207.


83.    Defendants failed to compensate Plaintiff at the required minimum wage for all hours

       worked.


84.    As a result of the violation, Plaintiff is entitled to his unpaid outstanding and minimum

       wages plus an additional equal amount in liquidated statutory damages along with costs

       and reasonable attorney fees.


                                         COUNT III
        VIOLATION OF MICHIGAN’S WORKFORCE OPPORTUNITY WAGE ACT,
         M.C.L. § 408.411 et seq., AND IMPROVED WORKFORCE OPPORTUNITY
                             WAGE ACT, M.C.L. §408.931 et seq.,
                           FAILURE TO PAY MINIMUM WAGE

85.    Plaintiff hereby incorporates by reference all previous paragraphs as if fully stated herein.

86.    The Michigan’s Workforce Opportunity Wage Act (“MWOWA”), makes it unlawful for

       an employer to pay an employee less than what is prescribed in the statute. M.C.L. §

       408.411, et seq.

87.    The Improved Workforce Opportunity Wage Act (“IWOWA”), makes it unlawful for an

       employer to pay an employee less than what is prescribed in the statute. M.C.L. §

       408.931, et seq.

88.    At all relevant times, Defendants have been “employer[s]” within the meaning of the

       MWOWA, M.C.L. § 408.411, et seq.

89.    At all relevant times, Defendants have been “employer[s]” within the meaning of the

       IWOWA, M.C.L. § 408.931, et seq.




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90.    At all relevant times, Plaintiff was an “employee[s]” within the meaning of the

       MWOWA, M.C.L. § 408.411, et seq.

91.    At all relevant times, Plaintiff was an “employee[s]” within the meaning of the IWOWA,

       M.C.L. § 408.931, et seq.

92.    The MWOWA requires an employer to pay employees the state mandated minimum

       wage for every hour worked in a work week. M.C.L. § 408.414.

93.    The IWOWA requires an employer to pay employees the state mandated minimum wage

       for every hour worked in a work week. M.C.L. § 408.931

94.    By failing to compensate Plaintiff at the state mandated minimum wage for hours

       worked, Defendants have violated the MWOWA, M.C.L. § 408.411, et seq.

95.    By failing to compensate Plaintiff at the state mandated minimum wage for hours

       worked, Defendants have violated the IWOWA, M.C.L. § 408.931, et seq.

96.    As a result of Defendants’ violations, Plaintiff is entitled to his unpaid outstanding and

       minimum wages plus an additional equal amount in liquidated statutory damages along

       with costs and reasonable attorney fees.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests the following relief:

A.     Certifying this case as a Collective Action in accordance with 29 U.S.C. § 216(b) with

respect to the FLSA claims set for in Count I and II;

B.     Certifying this case to proceed as a class action in accordance with Federal Rule of

Procedure 23 with respect to the MWOWA and IWOWA claims set forth in Count III;

C.     Ordering Defendants to disclose in computer format, or in print if no computer readable

format is available, the names and addresses of all those individuals who are similarly situated,




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and permitting Plaintiff to send notice of this action to all those similarly situated individuals

including the publishing of notice in a manner that is reasonably calculated to apprise the

potential class members of their rights under this litigation;

D.     Designation of Named Plaintiff as Representative of the Class Members;

E.     Designation of Plaintiff’s counsel as Class counsel;

F.     Declaring Defendants willfully violated the Fair Labor Standards Act and its attendant

regulations as set forth in Count I and II;

G.     Declaring Defendants violated their obligations under the FLSA;

H.     Declaring Defendants violated their obligations under MWOWA and IWOWA;

I.     Granting judgment in favor of Plaintiff and Class Members and against Defendant on the

FLSA claim as set forth in Count I and II and awarding each the amount of his/her unpaid wages,

along with an equal amount as liquidated damages;

J.     Granting Judgment in favor of Plaintiff and Class members and against Defendant on

Count III and awarding each the amount of his/her unpaid wages along with an equal amount in

liquidated damages;

K.     Awarding Plaintiff and Class Members the costs of this action;

L.     Awarding Plaintiff and Class Members reasonable attorneys’ fees pursuant to the FLSA;

M.     Awarding Plaintiff and Class Members reasonable attorney fees pursuant to the

MWOWA and IWOWA;

N.     Awarding Plaintiff and Class Members pre- and post-judgment interest on their damages;

O.     Defendant pay prejudgment interest to Plaintiff and Class Members on these damages;

and

P.     The Court grant such other and further relief as the Court may deem just or equitable.




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Dated: July 2, 2021                                        Respectfully Submitted,

                                                           /s/ Robert Anthony Alvarez
                                                           Robert Anthony Alvarez (P66954)
                                                           Attorney for Plaintiff
                                                           Avanti Law Group. PLLC




                             REQUEST FOR TRIAL BY JURY

       NOW COMES Plaintiff, by and through his attorney, and hereby requests a trial by jury

pursuant to Rule 38 of the Federal Rules of Civil Procedure.


Dated: July 2, 2021                                 Respectfully Submitted,

                                                    /s/ Robert Anthony Alvarez          .
                                                    Robert Anthony Alvarez (P66954)
                                                    Attorney for Plaintiff
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                                       VERIFICATION

I declare under the penalty of perjury under the laws of the United States of America that the
statements outlined above in my Original Complaint are true and correct.


          Jun 15 2021
Date: ___________________                            ____________________________________
                                                     Signature
                                                       Domingo Tovar Cruz
                                                                                                 .
                                                     Printed Name
